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				IN RE SUSPENSION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2014 OK 9Decided: 02/20/2014THE SUPREME COURT OF THE STATE OF OKLAHOMACite as: 2014 OK 9, __ P.3d __

FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 

In re Suspension of Certificates of Certified Shorthand 
Reporters
ORDER
Pursuant to Rules 20(b) and 23(d), the State Board of Examiners of Certified 
Shorthand Reporters submitted the names of certified shorthand reporters who 
have failed to pay the 2014 annual certificate renewal fee and/or to report the 
2013 continuing education, as listed in the attached Exhibit, and recommended 
the suspension of each reporter's certificate by order of this Court.
IT IS THEREFORE ORDERED that the certificate of each of the certified 
shorthand reporters listed on the attached Exhibit is and shall remain suspended 
for failure to pay the 2014 annual certificate renewal fee and/or to comply with 
the continuing education requirements for calendar year 2013 until further order 
of this Court.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 20th day of 
February, 2014.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR
&nbsp;&nbsp; 
&nbsp;
EXHIBIT to SCAD-2014-12
Rules 20(b) and 23(d) of the State Board of Examiners of Certified Shorthand 
Reporters, Okla. Stat. tit. 20, ch.20, app. 1 (2011), require certified 
shorthand reporters, on or before February 15th of each year, to pay 
the annual certificate renewal fee authorized by section 1506 of title 20 and to 
report the continuing education required by section 1503.1. The Rules operate to 
suspend the certificates of reporters, effective February 16th of 
each year, who do not timely pay and/or report.
The following persons have failed to pay the annual certificate renewal fee 
for calendar year 2014:

S.J. Bailey
    CSR # 109Steve Meador
    CSR # 294Freddy Dale Leggett
    CSR # 910Kevin Lee Idleman
    CSR # 1652Lori A. Johnston
    CSR # 1726Lainey Fergueson
    CSR # 1934Marc Nichols
    CSR # 1945Shanna M. McKay
    CSR # 1958Ashleigh M. Cawthon
    CSR # 1965&nbsp;The following persons have failed to complete and report continuing education 
form calendar year 2013:
Cheryl Kendall Brown
    CSR # 1448Kelly Jean Bryant
    CSR # 1476Lainey Fergueson
    CSR # 1934Marc Nichols
    CSR # 1945Shanna M. McKay
    CSR # 1958Ashleigh M. Cawthon
    CSR # 1965
&nbsp;
&nbsp; 




	Citationizer© Summary of Documents Citing This DocumentCite
		Name
		Level
	Oklahoma Supreme Court Cases&nbsp;CiteNameLevel&nbsp;2014 OK 32, RE: REVOCATION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERSCitedCitationizer: Table of AuthorityCite
		Name
		Level
	None Found.


				
					
					
				
             
         
        
            

		